USA Vv.

 

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ase, 8 00 = LHM _Docuntéht 2 “Fifer ttt 7/95 Page 1of2 Page ID #:53
Her PLA y CASE NO. CR-15

135 HOM DEFT. NO._/

NOTE: All items are to be completed. Information not applicable or unknown shall be indicated as "N/A".

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1,

CR-72 (03/95)

 

 

CInformation

LiIndictment

a. Investigative agency (i.e., FBI, DEA, IRS,
Customs, etc.)
secret Service ‘and FBI

 

Offense charged as a:

a. X] Felony
C)Minor Offense
LiPetty Offense

b. Date of Offense

County in which first offense os EROS
CENTRALDIS!

 

occurred ___ Orange

 

committed in: (Check ALL that apply)

[ALos Angeles [JSan Bernardino
Orange (J Other
LRiverside

Citation of Offense: 18 U.S.C. Sec. 1344
18 U.S.C. Sec. 982

This defendant is charged in:
[JOnly Counts

A complaint was previously filed

GJ All Counts

 

on.

case no.

 

charging

 

The complaint: CIs still pending

[) Was dismissed on.

Has an information or indictment involving this
defendant and the same transaction or series of
transactions been previously filed and dismissed
before trial? LINo

C)Yes (Case No. )

 

   

- OVER -

7.

Case no.

10.

11.

12.

13.

This is the

(i.e., first, second, etc.). The superseded case was

superseding charge

previously filed on

 

The superseded case:
Cils still pending before Judge/Magistrate Judge

 

(Was previously dismissed on
Pursuant to Section 10.1 of General Order 224,

_ criminal cases may be related if a previously filed

= TT information or indictment and the present case:
d. The crimes charged are ‘alleged to have béén

a. arise out of the same conspiracy, common
scheme, transaction, series of transactions or

- events; or

b. involve one or more defendants in common.
and would entail substantial duplication of labor
in pretrial, trial or sentencing proceedings it
heard by different judges.

Related case(s), if any, (Must attach Notice ot
Related Case):

 

 

This defendant is designated as "High Risk”
per 18 USC 3164(a)(2) by the U.S. Attorney.

‘This is designated a "Special Case” per 18
USC 3166(b)(7).

 

Date of Birth
C) Male CiFemale
OU.S. Citizen [Alien

Will sixteen (16) days or more be required to
present government’s evidence in the case in chief?
CYes LINo
Is an interpreter required? [JNo

OYes (list language and/or dialect)

 

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ee ENTERED ON ICMS M)._.
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Case 8:95-cr-00125-LHM Docymgspopig¢sinATes Page 2of2 Page ID #:54

14, DEFENDANT IS NOT IN CUSTODY:

a. Date and time of arrest on complaint

 

b. Posted bond at complaint level on in the amount of $

c. PSA supervision? ()Yes CINo

 

d. is a Fugitive.

e; Is on bail or release from another district. Show district:

f. Has not been arrested but will be notified by summons to appear.
g. Warrant requested.

 

DEFENDANT IS IN CUSTODY: |
a. Place of incarceration: [State C) Federal
b. Name of Institution:

c. If Federal: U.S. Marshal’s Registration Number:

 

 

 

d. Solely on this charge. Date and time of arrest:
e. On another conviction: (State (Federal C)Writ of Issue

f. Awaiting trial on other charges: LJState C}Federal

Name of Court:

 

15. Date transferred to Federal custody:

 

' 16. This person/proceeding is transferred from another district per FRCrP: 20 21 40

17. Determinations as to excludable time prior to filing indictment/information (Explain):__

 

 

 

 

 

18. DATE: 19. SIGNATURE:

 

Assistant U.S. Attorney

20. PRINT NAME: MARC R. GREENBERG A.U.S.A.«

 

 

 

CR-72 (03/95) CASE SUMMARY
